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                                    UNITED STATES DISTRICT COURT
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By:   \\lfC""'-       Depulyeledc       N orthem District of Georgia
                                              Atlanta Division




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         Plaintiff



                   v.                             Case Number:    1: 2a-cy-a72 9
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         Defendant
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To: THE HIGH COURT OF THE UNITED STATES OF AMERICA
2/17/2020

I am unable to work. My inability to pay bills, acquire friends and be well has
ruined my life. The court case report of undue process perversion accompanies
my name. This feature is built into Google and several other search engines. The
source of this plaque is leag'le.com - (Leagle Inc.). My unique name has no other
affiliations and I have yet to be compensated for my hardship. Companies have
made money by using my name without my consent, yet are unwilling to hire me
with this same back ground label. The slandering of my reputation appears every
time my name is searched, so obtaining a job or volunteering with businesses and
organizations is impossible. The continual damage of my name and reputation is
not acceptable. Compensation of ten million dollars for lost wages and suffering
over my Hfetime is due to me. The court case report must be removed from all
search engines as soon as possible.

Janet L. Busener

Cell 770 596-6617

Email Truthnews@aol.com

Source: BUSENER v. STATE

188 Ga. App. 392 (1988)

373 S.E. 2d 81

Court of Appeals of Georgia,

The decision was made on September 13, 1988.
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   BUSENER v. STATE
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   188 Ga. App. 392 (1988)

    373 S.E.2d 81


    BUSENER    v. THE STATE.

    Court of Appeals of Georgia.

    Decided Septembe.r 13. 1988.




    G. HugheJ Harrison, fur appellime

    Gerald N. Blaney, fCo , Solicicor, for appeJJee.




    BIRDSONG, Cllief Judge.

    The appellant, Janet Busener, appeals from a jury verdict of
                                                                                                                                                    (188 Ga. App. 3931
    guilty of one count of solicitation of sodomy and one count of solicitation of sexual intercourse for money. Police officer C. B. Houston, while not on duty
    during t.he evening of February 8, 1987, was using a phone in a ,lounge at a hotel at Gwinnett Place Mall, and observed a female handing out "business
    cards" to males waiting to use the phone. Officer Houston was given one of the cards which stated: "Janet and Associates" and gave two telephone
    numbers. He asked her what type of business she was in and she used her finger to lo-pell out: .. s E X," and he said: "Oh, sex, and she said, Yes ... then she
    said it's a lot cheaper than the agencies you would go to." Officer Houston gave the card to his supervisor who assigned the investigation to Officer S. H.
    Ledford Ledford checked out the phone numbers listed. One was a home phone and one was a beeper. He called lbe beeper num.b er and gave the number
    of an "undercover phone" at the police station which would not come through the police switchboard. About ten minutes after he called the beeper, a
    female called and said: "Hello, I'm Janet," and asked his name. He told her "Dave" and that he had met her the previous evening at the lounge. He heard
    her "beeper" go off and she told him she had to "call her agency" and would call him back. She called back in about ten minutes and he asked her the
    cost of her service. She said $100 per call. The officer wanted to know what he would get for his hundred dollars. She said that she would model lingerie,
    do a strip dance, give a massage and "engage in the other." They agreed to a meeting at a restaurant next to a motel

   When the officer arrived at the restaurant, he saw two females at a booth and asked: "Janet?" She said, "Dave," and they walked to the motel. The officer
   again asked what he would get for his hundred dollars: "She stated .. she hadn't received any complaints or anything and I asked her, I said, Well, for
   this hundred dollars do I get half and half? Well, half and half is street logo for prostitution is half oral sex and half sexual intercourse. She stated that I
   would get that." As the officer inserted the key in the motel door, he asked defendant how long would he have and she replied, "an hour and a half." He
   told her it would probably be a little longer and placed her under arrest and read her Miranda rights to her from a card he carried. After she had been
   arrested and Mirandized, her pocketbook was searched and found to contain a box of condoms and a "pocket credit card" machine along with blank
   charge sheets. After being placed in the police car, appellant stated "she was a prostitute and that she had been a prostitute for approximately five
   years." She requested the police to take custody of her car. Her car was impounded and found to contain "inlimate lingerie ..... and a box of business
   cards stating "Janet and Associates." While enroute to jail, appellant's beeper was called "eigbt tinIes." Appellant brings this appeal from a jury verdict
                                                                                                                                                    {I88 Ga.App. 3941
    of guilty as to both counts. HeJd:

    Appellant enumerates as error only the trial court's refusal to give two requested charges on the defense of "entrapment." "Entrapment" occurs when
    the criminal design originates not with an accused, but within the mind of a government agent, and the accused is, by persuasion, deceitful
    misrepresentation, or inducement, lured into the commission of a criminal act he or she is not otherwise predisposed to commit. Sorrells v. United

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   enterprises and i.t is not entrapment merely to furnish an opportunity to commit an offense if the individual is predisposed to undertake such
   commission. Pennyman v. State, l'Z5.Jia.Aru;!...l&5, 407 (333 s,Lzd 6,5.9). "Even repeated requests and offers of money do not make out an entrapment
   situation as a matter of law." Paras v. State. u..7~75 . 77 (2) (1..74 SL2d 451). Hence. the entrapment defense is composed of three distinct elements: "
   (1) the idea for the commission of the crime must originate \\o;th the state agent; (2) the crime must be induced by the agent's undue persuasion.
   incitement. or decei.t; and (3) the defendant must not be predisposed to commit the crime," Keaton v. State, ~ Ga , 70. 72 (316 S,E,zd 4'i1.l.
   "Predisposition" to commit the offense is the key element of this defense. Johnson v. State, U,7 Ga.AQll....9.l. 93 (U.S S.E.zd 168),

   In the instant appeal, appellant's solicitation of the police officer precluded a claim that the crime originated with the police. The evidence shows no
   undue persuasion or incitment to commit the offense, but merely an offer to enter into an agreeml:'nt to commit the offenses of sodomy and sl:'xual
   intercourse, Appellant admitted she was a prostitute, and had been engaged in that profession for the past five years and her predisposition to commit
   these offenses was clearly demonstrated by her business card, her solicitation of the genl:'ral public, possl:'ssion of a box of condoms and portable
   apparatus and blank charge shl:'ets for acceptance of credit card payment for her services. Appellants "conceded predispOSition rendered this defense
   unavailable to [her J." Hampton v. United States, .t.~ , 490 (96 S.c. 1646, 48 LEld u3).

   It was not error for the trial court to refuse to charge on entrapment, when there is no evidence establishing such defense. Conner v. State, ~51 Ga, 113 ,
   115 (2) (a) (323 Sol': 2d 266 ), These enumerations are without merit.

   Judgment affirmed. Banke, P. J., and BeiJsley, /., concur.




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